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UNITED STATES DISTRICT COURT
DISTRICT OF MARYLAND


QUALITY SERVICE GROUP, LLC

                                       Plaintiff,

                           - against -
                                                                              Case No. : 1:11 cv 00514 CCB
MONTE OF ANNAPOLIS, INC., D/B/A “BLUE
MARTINI,” DOMENICA TRIPODI, WILLIE
KOUTRUMPOUS and BLUE MARTINI,

                                       Defendants.



                              Settlement Agreement and Stipulation of Dismissal

   This AGREEMENT is made as of the ___31st day of March, 2011, between QUALITY SERVICE
GROUP, LLC a Florida Limited Liability Company (“QSG”) and MONTE OF ANNAPOLIS,
INC., D/B/A “BLUE MARTINI” and WILLIE KOUTRUMPOUS (“MOA/WK”).

1. Preamble.

    a) QSG filed a lawsuit against MOA/WK and Domenica Tripodi in the District Court of
       Maryland, alleging, inter alia, trademark infringement of U.S. Trademark Registration Nos.
       3470058 and 2819726 for Plaintiff’s BLUE MARTINI trademark covering restaurants and
       bar services (the “BLUE MARTINI Mark”), copies of which registrations are attached as
       Exhibit 1 to the Complaint in this action (the “Action”).

    b) MOA/WK own and operate an establishment under the name BLUE MARTINI at 2444
       Solomon’s Island Road, Annapolis, Maryland 21401 (the “Infringing Premises”).

    c) QSG and MOA/WK wish to enter into this Settlement Agreement and Stipulation of
       Dismissal to resolve all claims as between the parties to this Action.

2. Release of Domenica Tripodi.

         QSG releases Domenica Tripodi from all claims it has, had or could have in connection with
         the subject matter of the Action, and dismisses all of its claims against Domenica Tripodi.

3. Warranties and Representations by MOA/WK.

    a) MOA/WK warrant and represent on behalf of themselves, MOA’s parent, affiliated and/or
       subsidiary companies, officers, directors and shareholders, and all of their respective
       successors, assigns, licensees, agents, employees and authorized representatives (the
       “MOA/WK Parties”) that, prior to April 1, 2011, the “MOA/WK Parties shall: (i) cease all
       use of BLUE MARTINI, including without limitation at or in connection with the Infringing
       Premises; (ii) file with all local and state agencies and obtain the necessary approvals to
       change its name so that it does not include or refer to BLUE MARTINI in any manner; and;
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         (iii) destroy all advertising, menus, signs, merchandise, napkins, and other items of any kind
         or nature bearing BLUE MARTINI.

    b) At any time after March 31, 2011, should QSG discover that MOA/WK has failed to comply
       with the Warranties and Representations contained in paragraph 3.a) above, then without
       further notice to the MOA/WK Parties, QSG shall be permitted to make an application to the
       United States District Court For The District Of Maryland for a confession of judgement
       and liquidated damages in the amount of                                              for
       each and every day that the MOA/WK Parties fail to comply with the provisions of this
       Settlement Agreement.

4. Additional Obligations of MOA/WK.

    a) MOA/WK shall pay QSG the sum of                                             (the “Settlement
       Amount”), in full and final settlement of any and all claims relating to the Action and the
       subject matter thereof. The Settlement Amount shall be made by check payable to Gordon
       E. R. Troy, PC, as attorneys for QSG, within five (5) business days from the full execution
       of this Settlement Agreement.

    b) Within five (5) business days from the full execution of this Settlement Agreement,
       MOA/WK shall transfer the domain name bluemartiniannapolis.com to QSG or its designee,
       and shall do all things necessary at QSG’s direction to effectuate such transfer.

    c) MOA/WK, on behalf of itself and the MOA/WK Parties, shall forever cease and desist from
       selling, licensing, manufacturing, advertising, promoting, distributing or otherwise
       exploiting or using in commerce the BLUE MARTINI Mark or a mark or design that is
       confusingly similar to the BLUE MARTINI Mark.

    d) MOA/WK and the MOA/WK Parties acknowledge the validity of the BLUE MARTINI
       Mark.

    e) Neither MOA/WK nor the MOA/WK Parties shall at any time hereafter: (i) contest the
       rights of QSG or its parents, subsidiaries, designees, affiliates, licensees, principals, partners,
       members, officers, directors, shareholders, employees, representatives, agents, successors
       and assigns (the “QSG Parties”) in and to the BLUE MARTINI Mark; (ii) make any claims
       in or to the BLUE MARTINI Mark; (iii) take any action inconsistent with the rights of QSG
       or any of the QSG Parties in and to the BLUE MARTINI Mark; (iv) make any use of the
       BLUE MARTINI Mark; or (v) otherwise interfere with the rights of QSG or any of the QSG
       Parties in and to the BLUE MARTINI Mark.

5. Stipulation of Dismissal. This Settlement Agreement and Stipulation of Dismissal shall operate
   as a Stipulation of Dismissal to be filed with the Court by counsel for the parties. The copy to be
   filed with the Court shall have the financial portions redacted for filing, provided, however, that
   should QSG be required to enforce the terms of this Settlement Agreement as set forth in
   paragraph 3b) above, QSG shall be entitled to disclose such financial portions in any Court
   filings.

6. General Releases.

    a) By MOA/WK. MOA/WK and the MOA/WK Parties hereby fully and forever release and
       discharge QSG and the QSG Parties from any and all claims, demands, losses, costs,
       damages, rights and causes of action, debts, liabilities and obligations whatsoever, at law or
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         in equity, which any of them ever had, now have or hereafter can, shall or may have for,
         upon, or by reason of any matter, cause or thing, whether or not previously asserted, known
         or unknown, discovered or undiscovered, that was or could have been asserted in the Action.

    b) By QSG. QSG and the QSG Parties hereby fully and forever release and discharge
       MOA/WK and the MOA/WK Parties from any and all claims, demands, losses, costs,
       damages, rights and causes of action, debts, liabilities and obligations whatsoever, at law or
       in equity, which any of them ever had, now have or hereafter can, shall or may have for,
       upon, or by reason of any matter, cause or thing, whether or not previously asserted, known
       or unknown, discovered or undiscovered, that was or could have been asserted in the Action,
       provided, however, that terms and conditions of this Settlement Agreement shall be
       ongoing.

7. Mutual Warranties and Representations. Each party warrants and represents to the other
   parties that:

    a) it has, to its satisfaction, independently investigated the facts pertaining to the claims in the
       Action and the terms of this Settlement Agreement, and that in executing this Settlement
       Agreement it is not relying in any way (and acknowledges that it would be unreasonable so
       to rely) upon any statement, silence, act or omission of any other party outside the terms of
       this Settlement Agreement other than those representations specifically set forth in writing
       herein;

    b) it has the full right, power and authority to execute this Settlement Agreement and perform
       its obligations hereunder;

    c) it has not assigned, transferred, conveyed, released or discharged (voluntarily or
       involuntarily) its interest in the claims which are the subject matter of this Settlement
       Agreement; and

    d) it has had the opportunity to confer with counsel and/or has been represented by counsel of
       its own choosing in connection with the negotiation and preparation of this Settlement
       Agreement and with respect to the meaning and legal significance of this Settlement
       Agreement, and, based upon such opportunity and/or representation and advice, it
       knowingly and voluntarily agrees to be bound by the terms of this Settlement Agreement.

8. Cure of Breach. In the event any party claims the other has breached any provision of this
   Settlement Agreement, the party claiming breach shall notify the allegedly breaching party of
   the claimed breach and the parties shall have five (5) business days after having been
   “delivered” notice to attempt to settle the dispute or otherwise cure said breach. Failing
   settlement, the breaching party shall be entitled to seek enforcement of this Settlement
   Agreement by the Court.

9. Notices. All notices and other communications hereunder shall be in writing and shall be
   delivered to the other party by an express mail company which requires signature upon delivery
   or by certified mail, return receipt requested. All notices or other communications shall be
   deemed delivered when signed for if sent by express mail company or three days after mailing if
   sent by certified mail as aforesaid, and shall be addressed as follows:




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      If to QSG:                                                  If to MOA/WK:

      Gordon E. R. Troy, PC                                      Hunter Taubman Weiss
      Gordon E. R. Troy                                          Morton S. Taubman, Esq.
      3333 Lake Road                                             1201 15th Street, NW, 2nd Floor
      PO Box 368                                                 Washington, DC 20005
      Charlotte, VT 05445                                        Telephone: (202) 347-9090
      (802) 425-9060 Phone                                       Facsimile: (202) 659-2679
      (646) 588-1962 Fax                                         Email: mtaubman@lhttlaw.com
      gtroy@webtm.com E-mail


10. General Provisions.

    a) This Settlement Agreement sets forth the entire understanding of the parties hereto relating
       to the subject matter hereof. No modification, amendment, waiver, termination or discharge
       of this Settlement Agreement or of any of the terms or provisions hereof shall be binding
       upon either party unless confirmed by a written instrument signed by the party against
       whom such modification, amendment, waiver, termination or discharge is sought to be
       enforced. No waiver by either party of any term or provision of this Settlement Agreement
       or of any default hereunder shall affect the respective rights thereafter to enforce such term
       or provision or to exercise any right or remedy in the event of any other default, whether or
       not similar. Except as otherwise provided in this Settlement Agreement, all rights and
       remedies herein or otherwise shall be cumulative and none of them shall be in limitation of
       any other right or remedy.

    b) This Settlement Agreement is binding upon and shall inure to the benefit of the parties, their
       affiliates, and each of their respective agents, officers, directors, employees, shareholders,
       principals, partners, insurers, reinsurers, sureties, successors and assigns.

    c) If any provision of this Settlement Agreement shall be held void, voidable, invalid or
       inoperative, no other provision of this Settlement Agreement shall be affected as a result
       thereof, and, accordingly, the remaining provisions of this Settlement Agreement shall
       remain in full force and effect as though such void, voidable, invalid or inoperative
       provision had not been contained herein.

    d) Each party had an opportunity to participate in drafting of this Settlement Agreement.
       Therefore, it will not be construed against either party

    e) This Settlement Agreement is governed by, and is to be construed in accordance with, the
       laws of the State of Maryland, without giving effect to that state’s conflict-of-laws rules.
       Each of the parties submits to the jurisdiction of the United States District Court for the
       District of Maryland. The parties hereby consent to such jurisdiction and specifically to the
       personal jurisdiction of the referenced Court over each party and waive any objection they
       now or may hereafter have to such jurisdiction and venue.

    f) This Settlement Agreement may be executed in counterparts. Each counterpart shall be
       deemed an original. Scanned “pdf” copies of signatures shall be as binding as original
       signatures.

    g) Authorized representatives for parties shall place their signatures and seals in the places
       provided below.
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